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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
                                           )
STATE OF CALIFORNIA, et al.,              )
                                           )
                  Plaintiffs               )
                                           )
            v.                             )
                                           )      No. 25-cv-10810-DJC
                                           )
DONALD TRUMP, et al.,                      )
                                           )
                                           )
                  Defendants.              )
                                           )
__________________________________________)

             Amended ORDER OF PRELIMINARY INJUNCTION

CASPER, J.                                                                             June 13, 2025
                                                                                        amended July 18, 2025
                                                                                                          025
       Pursuant to Rule 65(a) of the Federal Rules of Civil Procedure, and for the reasons

explained by the Court in its Memorandum and Order, D. 107 (entered June 13, 2025), the Court

finds that Plaintiff States are likely to succeed on the merits of their claims in their motion for

preliminary injunction, D. 75, that Section 2(a), Section 2(d), Section 3(d), Section 7(a), and Section

7(b) of Executive Order No. 14248 are unlawful and unconstitutional; that Plaintiffs will suffer

irreparable harm absent the preliminary injunctive relief granted herein; that the balance of equities

and public interest favor granting this injunctive relief; and, a bond is not warranted here.

        Accordingly, the Court hereby ALLOWS Plaintiff States’ motion for preliminary

injunction, D. 75, and Defendants, their officers, agents, servants, and employees, other than the

President, are enjoined from:

       (1) implementing Section 2(a) of the Executive Order that mandates that the EAC require

           documentary proof of citizenship in the federal voter registration form and that the States
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       record information concerning such documentary proof;

    (2) implementing Section 3(d) of the Executive Order that requires Defendant Secretary of

       Defense to update the federal postcard application to require documentary proof of

       citizenship and proof of eligibility to vote in a particular State;

    (3) implementing Section 2(d) that requires the head of each federal voter registration

       executive department or agency to assess citizenship prior to providing the federal voter

       registration form to enrollees of public assistance programs;X as to the Plaintiff States;

    (4) implementing civil or criminal enforcement actions pursuant to Section 7(a) of the
                                                                                        he

       Executive Order as to the Ballot Receipt States (Plaintiffs California, Nevada,

       Massachusetts, Arizona, Colorado, Hawaii, Illinois, Maryland, Michigan, New Jersey,

       New Mexico, New York and Rhode Island); and

    (5) implementing Section 7(b) of the Executive Order, which conditions any available

       funding from the EAC to the States on the adoption of a ballot receipt deadline of

       Election Day, against the Ballot Receipt States (Plaintiffs California, Nevada,

       Massachusetts, Arizona, Colorado, Hawaii, Illinois, Maryland, Michigan, New Jersey,

       New Mexico, New York and Rhode Island).

       This Order shall remain in effect unless and until modified by the Court.


SO ORDERED.


                               By:     /s Denise J. Casper
                                       United States District Judge
